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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COURt '. \ L- E:. fJ
                                          SOUTHERN DISTRICT OF CALIFORNIA 15 tll\R 25 f\i'1 9: 22
                                                                                                           . -.   ".trI"!""· .""'H!n
              UNITED STATES OF AMERICA                              JUDGMENT IN A CR,IMJ.l'!{A,t'clY~SE.li;",;lii:.
                                   V.                               (For Offenses Committed On or After November I, 1987)
            BRENDA LIANA RODRIGUEZ (14)
                                                                       Case Number:          14cr1288-DMS

                                                                    Robert A Garcia CIA
                                                                    Defendant's Attorney
REGISTRATION NO.                   47118298
0-
THE DEFENDANT:
I:!$l pleaded guilty to count(s)         1 of the Indictment

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                           Connt
Title & Section                     Natnre of Offense                                                                     Number(sl
18 USC 1962(d)                      CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                                 I
                                    THROUGH A PATTERN OF RACKETEERING ACTIVITY




    The defendant is sentenced as provided in pages 2 through                 4            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is                               dismissed on the motion of the United States.

I:!$l   Assessment: $100.00.



I:!$l   No fine               0 Forfeiture pursuant to order filed                                                  , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                   March 18.2015
                                                                   Date ofImposition of Sen ence
                                                                   Entry          Judgment      i    eld until March 25. 2015

                                                                   H                  M.SABRAW
                                                                   UNITED STATES DISTRICT JUDGE



                                                                                                                          14cr1288-DMS
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                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
TWENTY-FOUR (24) MONTHS.




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
~     The court makes the following recommendations to the Bureau of Prisons:
      Defendant participate in the RDAP program.
      Defendant be designated to a facility in Southern California.




o     The defendant is remanded to the custody ofthe United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
      o     at _ _ _ _ _ _ _ _ A.M.                          on
      o     as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons:
      o     on or before
      o     as notified by the United States Marshal.
      o     as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:

      Defendant delivered on                                            to __________________

at __________________ , with a certified copy of this judgment.


                                                                UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.



     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or qfter September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by COUlt.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, ifapplicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
         The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
         Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
D        seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
         resides, works, is a student, or was convicted ofa qualifYing offense. (Check ifapplicable.)
D        The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

         Ifthis judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
    such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
    of Payments set fOlth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this COUlt. The defendant shall also comply
     with any special conditions imposed.
                                       STANDARD CONDITIONS OF SUPERVISION
    1)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)  the defendant shall support his or her dependents and meet other family responsibilities;
    5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
        reasons;
    6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
    7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
        any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
        unless granted permission to do so by the probation officer;
    10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
        observed in plain view of the probation officer;
    11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12) the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcement agency without the permission of
        the court; and
    13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
        personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
        with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION

1.     Participate in a program of drug 01' alcohol abuse treatment, including urinalysis 01' sweat patch testing
       and counseling, as directed by the probation officer. Allow for reciprocal release of information
       between the probation officer and the treatment provider. May be required to contribute to the costs of
       services rendered in an amount to be determined by the probation officer, based on ability to pay.

2.     Report vehicles owned or operated, or in which you have an interest, to the probation officer.

3.     Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
       Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
       or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
       revocation; the defendant shall warn any other residents that the premises may be subject to searches
       pursuant to this condition.

4.     Not associate with any member, prospect, or associate of the West Coast Crips, or any other gang, or
       club with a history of criminal activity, unless given permission by the probation officer.

5.     Not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated
       with a gang, unless given permission by the probation officer.

6.     Not loiter, or be present in locations known to be areas where gang members congregate, unless given
       permission by the probation officer.

7.     Participate in a program of mental health treatment as directed by the probation officer, take all
       medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
       permission. The court authorizes the release of the presentence report and available psychological
       evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
       release of information between the probation officer and the treatment provider. May be required to
       contribute to the costs of services rendered in an amount to be determined by the probation officer,
       based on ability to pay.




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